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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


 DISPLAY TECHNOLOGIES, LLC,

        Plaintiff,                                       Civil Action No. 2:15-cv-998-JRG-RSP
                                                                       (Lead Case)
 vs.
                                                              JURY TRIAL DEMANDED
 NVIDIA CORPORATION, et al.,

        Defendants.


                     JOINT MOTION TO ENTER PROTECTIVE ORDER

        Pursuant to the Docket Control Order (Dkt. No. 37) in the above captioned Lead Case,

 Plaintiff Display Technologies, LLC and Defendants Samsung Electronics America, Inc., and

 Valve Corporation (together, the “Parties”), have met and conferred and come to an agreement

 regarding a Proposed Protective Order to be entered in this case.1

        Accordingly, the Parties respectfully request that the Court enter the attached Proposed

 Protective Order attached hereto as Exhibit A.



 November 4, 2015                                  Respectfully submitted,

                                                   /s/Ali R. Sharifahmadian
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   On October 21st, the Parties jointly moved for an extension of time to November 4, 2015 to
 submit a proposed Protective Order (Dkt. No. 39).



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                                   CERTIFICATE OF CONFERENCE

         Counsel for the Parties have conferred regarding the Proposed Protective Order, and the

 parties agree with this filing.

                                                 /s/Ali R. Sharifahmadian
                                                 Ali R. Sharifahmadian


                                     CERTIFICATE OF SERVICE

         I hereby certify that a copy of the foregoing was served upon counsel of record via the

 Court’s CM/ECF system per Local Civil Rule CV-5(a)(3) on November 4, 2015.


                                                 /s/Ali R. Sharifahmadian
                                                 Ali R. Sharifahmadian
